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                       Exhibit 5
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)

                                                     ECF Case


This document relates to:       Federal Insurance Co., et al. v. al Qaida, et al.
                                03 CV 06978 (GBD) (SN)

                                     AMENDED JUDGMENT

       Whereas, this matter having come before the Honorable George B. Daniels, United States

District Judge, on the motion of certain plaintiffs for entry of a monetary judgment against

defendant Iran, and the Court, on March 9, 2016, having adopted the December 28, 2015 Report

and Recommendation made by Magistrate Judge Frank Maas concerning that motion in its

entirety, and directing the Clerk of Court to enter judgments against Iran and in favor of the moving

plaintiffs in accordance with the Report and Recommendation and the March 9, 2016 Order

adopting same, it is:

       ORDERED, ADJUDGED and DECREED: That for the reasons stated in the Court’s

Order dated March 9, 2016, judgment is hereby entered against defendant Iran and in favor of the

moving plaintiffs on their claims arising under 28 U.S.C. §1605A(d) as follows:

                    Plaintiff                                          Judgment

          Vigilant Insurance Company                                $42,305,933.24

      Chubb Custom Insurance Company                                  $612,585.00

     Chubb Indemnity Insurance Company                               $4,083,878.20

          Federal Insurance Company                                $1,513,667,597.39
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Chubb Insurance Company of New Jersey           $412,681.71

 Chubb Insurance Company of Canada             $50,452,395.71

      Pacific Indemnity Company                 $9,936,536.66

  Great Northern Insurance Company             $595,997,113.79

       AXA Art Insurance Corp.                 $14,287,543.00

     AXA Global Risks (UK) Ltd.                $10,986,623.57

        AXA CSA UK Branch                      $64,779,883.00

       AXA Insurance Company                   $131,696,044.96

      AXA Reinsurance Company                  $82,714,778.00

              AXA RE                           $105,790,023.00

      AXA RE Canadian Branch                   $26,138,407.11

           AXA RE UK Plc                       $18,162,701.70

          AXA Versicherung                      $923,053.00

               SPS RE                          $84,305,160.00

American Alternative Insurance Company          $3,922,782.07

  Princeton Excess and Surplus Lines            $3,796,292.50
          Insurance Company
 Great Lakes UK Reinsurance Company            $99,511,427.02

    OneBeacon Insurance Company                $176,514,985.40




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       IT IS FURTHER ORDERED, ADJUDGED and DECREED: That to the extent that

the plaintiffs’ claims under 28 U.S.C. § 1605A(d) arise out of injuries in New York State, they are

awarded prejudgment interest at the statutory simply interest rate of nine percent per annum from

September 11, 2001, through the date of the Amended Order of Judgment, ECF No. 3226 (March

8, 2016); and to the extent that the claims arise out of injuries occurring elsewhere, they are

awarded interest for the same period at the rate of 4.96 percent per annum, compounding annually.

Dated: January ____, 2018
       New York, New York


                                                            RUBY J. KRAJICK

                                                            ________________________
                                                            Clerk of Court

                                                            BY:

                                                            ________________________
                                                            Deputy Clerk




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